






Opinion issued December 17, 2009










In The

Court of Appeals

For The

First District of Texas






NO. 01-09-00621-CV






GERMAINE JAMES,  Appellant


V.

STATE OF TEXAS JUDGE BONNIE HELLUMS,  Appellee






On Appeal from the 164th District Court

Harris County, Texas

Trial Court Cause No. 2009-25177






MEMORANDUM OPINION	Appellant Germaine James has neither established indigence, nor paid all the
required fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil cases unless
indigent), 20.1 (listing requirements for establishing indigence); see also Tex. Gov't
Code Ann. §§ 51.207, 51.941(a), 101.041 (Vernon 2009) (listing fees in court of
appeals); Fees Civ. Cases B(1), (3) (listing fees in court of appeals).  

	In addition, Appellant has neither paid nor made arrangements to pay the
clerk's fee for preparing the clerk's record.  See Tex. R. App. P. 20.1 (listing
requirements for establishing indigence), 37.3(b) (allowing dismissal of appeal if no
clerk's record filed due to appellant's fault).

	After being notified that this appeal was subject to dismissal, appellant did not
adequately respond.  See Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c)
(allowing involuntary dismissal of case).

	We dismiss the appeal for nonpayment of all required fees and failure to pay
or make arrangements to pay the trial court clerk's fee for preparation of the clerk's
record.  We deny all pending motions.

PER CURIAM

Panel consists of Chief Justice Radack and Justices Bland and Massengale.


